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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:02cr93LAC

HOMER FOSTER

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on September 22, 2005
Motion/Pleadings: MOTION TO DEFER RESTITUTION
Filed byDEFENDANT PRO SE                  on 9/6/05       Doc.# 101
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               /s//MaryMaloy-Wells
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy-Wells

                                            ORDER
Upon   consideration      of   the   foregoing,       it   is    ORDERED    this   29 th   day   of
September, 2005, that:
(a) The relief requested is DENIED.
(b) Court loses jurisdiction after seven days; therefore, the Court does not have
the authority to change or modify the sentence.




                                                                s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
